Case 2:04-cr-20140-.]PI\/| Document 230 Filed 08/29/05 Page 10f3 Pag 305

IN THE UNI'I`ED STATE`.S DISTRICT COUR.T am By"'°‘ -----D.C.

FOR THE WESTERN DISTRIC'I` OF TENNESSEE

wEsTERN DIVISION minus 29 AH 6= h2

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W/DOF TN, JMEMPf-HS

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v. § Criminal No.yi-Z&/%UNU
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’K¢NNEW KE'NMZ-D 513ng ) (60-Day Continuance)
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UNITED S'I'ATES OF AMERICA

Plaintiff,

 

 

 

 

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

Th\s document entered on the docket e{et in comp\zanca
with Ru\e 55 ancilch 32('0) FRCrP on § BIS g 5 9

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so oRDERED this 26m day of August, 2005.

null

 

J PHIPPS MCCALLA
ITEID STATES DISTRICT JUDGE

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Assfstant United States Attorney

§.…§

 

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED `SATES DISTRIC COUR - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 230 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

